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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       GBPA, Inc., a California                  Act; Unruh Civil Rights Act
14     Corporation

15            Defendants.

16
17         Plaintiff Scott Johnson complains of GBPA, Inc., a California
18   Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and also has significant manual
23
     dexterity impairments. He uses a wheelchair for mobility and has a specially
24
     equipped van.
25
       2. Defendant GBPA, Inc. owned Local Union 271 located at or about 271
26
     University Ave, Palo Alto, California, between April 2021 and June 2021.
27
       3. Defendant GBPA, Inc. owns Local Union 271 (“Restaurant”) located at
28


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1    or about 271 University Ave, Palo Alto, California, currently.
2      4. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of the Defendants
10   are ascertained.
11
12     JURISDICTION & VENUE:
13     5. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16     6. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24     FACTUAL ALLEGATIONS:
25     8. Plaintiff went to the Restaurant in April 2021 (twice) and June 2021
26   with the intention to avail himself of its goods or services motivated in part to
27   determine if the defendants comply with the disability access laws.
28     9. The Restaurant is a facility open to the public, a place of public


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1    accommodation, and a business establishment.
2      10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
3    to provide wheelchair accessible inside dining surfaces in conformance with
4    the ADA Standards as it relates to wheelchair users like the plaintiff.
5      11. The Restaurant provides dining surfaces to its customers but fails to
6    provide any wheelchair accessible inside dining surfaces.
7      12. A few problems that plaintiff encountered was the lack of sufficient
8    knee or toe clearance under the inside dining surfaces for wheelchair users.
9    While there were outside dining tables that looked potentially accessible,
10   plaintiff had to navigate a curb of about 6 inches and 8 inches, respectively,
11   from the sidewalk and street dining side to gain access to those tables.
12   Additionally, other inside dining surfaces were too high.
13     13. Plaintiff believes that there are other features of the dining surfaces that
14   likely fail to comply with the ADA Standards and seeks to have fully compliant
15   dining surfaces for wheelchair users.
16     14. On information and belief, the defendants currently fail to provide
17   wheelchair accessible dining surfaces.
18     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
19   personally encountered these barriers.
20     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
21   wheelchair accessible facilities. By failing to provide accessible facilities, the
22   defendants denied the plaintiff full and equal access.
23     17. The failure to provide accessible facilities created difficulty and
24   discomfort for the Plaintiff.
25     18. The defendants have failed to maintain in working and useable
26   conditions those features required to provide ready access to persons with
27   disabilities.
28     19. The barriers identified above are easily removed without much


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1    difficulty or expense. They are the types of barriers identified by the
2    Department of Justice as presumably readily achievable to remove and, in fact,
3    these barriers are readily achievable to remove. Moreover, there are numerous
4    alternative accommodations that could be made to provide a greater level of
5    access if complete removal were not achievable.
6      20. Plaintiff will return to the Restaurant to avail himself of its goods or
7    services and to determine compliance with the disability access laws once it is
8    represented to him that the Restaurant and its facilities are accessible. Plaintiff
9    is currently deterred from doing so because of his knowledge of the existing
10   barriers and his uncertainty about the existence of yet other barriers on the
11   site. If the barriers are not removed, the plaintiff will face unlawful and
12   discriminatory barriers again.
13     21. Given the obvious and blatant nature of the barriers and violations
14   alleged herein, the plaintiff alleges, on information and belief, that there are
15   other violations and barriers on the site that relate to his disability. Plaintiff will
16   amend the complaint, to provide proper notice regarding the scope of this
17   lawsuit, once he conducts a site inspection. However, please be on notice that
18   the plaintiff seeks to have all barriers related to his disability remedied. See
19   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
20   encounters one barrier at a site, he can sue to have all barriers that relate to his
21   disability removed regardless of whether he personally encountered them).
22
23   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
24   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
25   Defendants.) (42 U.S.C. section 12101, et seq.)
26     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
27   again herein, the allegations contained in all prior paragraphs of this
28   complaint.


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1      23. Under the ADA, it is an act of discrimination to fail to ensure that the
2    privileges, advantages, accommodations, facilities, goods and services of any
3    place of public accommodation is offered on a full and equal basis by anyone
4    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
5    § 12182(a). Discrimination is defined, inter alia, as follows:
6             a. A failure to make reasonable modifications in policies, practices,
7                or procedures, when such modifications are necessary to afford
8                goods,     services,   facilities,   privileges,     advantages,   or
9                accommodations to individuals with disabilities, unless the
10               accommodation would work a fundamental alteration of those
11               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
12            b. A failure to remove architectural barriers where such removal is
13               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
14               defined by reference to the ADA Standards.
15            c. A failure to make alterations in such a manner that, to the
16               maximum extent feasible, the altered portions of the facility are
17               readily accessible to and usable by individuals with disabilities,
18               including individuals who use wheelchairs or to ensure that, to the
19               maximum extent feasible, the path of travel to the altered area and
20               the bathrooms, telephones, and drinking fountains serving the
21               altered area, are readily accessible to and usable by individuals
22               with disabilities. 42 U.S.C. § 12183(a)(2).
23     24. When a business provides dining surfaces, it must provide accessible
24   dining surfaces.
25     25. Here, accessible dining surfaces have not been provided in
26   conformance with the ADA Standards.
27     26. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


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1    1991 Standards.
2       27. A public accommodation must maintain in operable working condition
3    those features of its facilities and equipment that are required to be readily
4    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
5       28. Here, the failure to ensure that the accessible facilities were available
6    and ready to be used by the plaintiff is a violation of the law.
7
8    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
9    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10   Code § 51-53.)
11      29. Plaintiff repleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14   that persons with disabilities are entitled to full and equal accommodations,
15   advantages, facilities, privileges, or services in all business establishment of
16   every kind whatsoever within the jurisdiction of the State of California. Cal.
17   Civ. Code §51(b).
18      30. The Unruh Act provides that a violation of the ADA is a violation of the
19   Unruh Act. Cal. Civ. Code, § 51(f).
20      31. Defendants’ acts and omissions, as herein alleged, have violated the
21   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22   rights to full and equal use of the accommodations, advantages, facilities,
23   privileges, or services offered.
24      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiff, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
27   (c).)
28      33. Although the plaintiff encountered frustration and difficulty by facing


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1    discriminatory barriers, even manifesting itself with minor and fleeting
2    physical symptoms, the plaintiff does not value this very modest physical
3    personal injury greater than the amount of the statutory damages.
4
5           PRAYER:
6           Wherefore, Plaintiff prays that this Court award damages and provide
7    relief as follows:
8        1. For injunctive relief, compelling Defendants to comply with the
9    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10   plaintiff is not invoking section 55 of the California Civil Code and is not
11   seeking injunctive relief under the Disabled Persons Act at all.
12       2. For equitable nominal damages for violation of the ADA. See
13   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
14   and any other equitable relief the Court sees fit to grant.
15       3. Damages under the Unruh Civil Rights Act, which provides for actual
16   damages and a statutory minimum of $4,000 for each offense.
17       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
18   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
19
20   Dated: July 21, 2021              CENTER FOR DISABILITY ACCESS
21
22
                                       By: _______________________
23
                                             Amanda Seabock, Esq.
24                                           Attorney for plaintiff
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27
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